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                      IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND



SOLOMON CAMPBELL

                 Plaintiff,
                                                   Civil Action No.8:20-CV-03211-TDC
V.




NOVITEX GOVERNMENT SOLUTIONS,
LLC

                Defendant.




                                            ORDER



        The parties having filed a Joint Stipulation of Dismissal with Prejudice, it is hereby

ORDERED that:



        1. The above-captioned action is DISMISSED WITH PREJUDICE, with each party to

           bear his or its own costs and attorneys' fees, and


        2. The Clerk is directed to CLOSE this case.




Date:             ,2022
                                      Theodore D. Chuang
                                      United States District Judgj
